        Case 2:17-cr-00181-RMP           ECF No. 139        filed 10/19/20      PageID.391 Page 1 of 2
 PROB 12C                                                                            Report Date: October 19, 2020
(6/16)

                                       United States District Court                                   FILED IN THE
                                                                                                  U.S. DISTRICT COURT
                                                                                            EASTERN DISTRICT OF WASHINGTON

                                                       for the
                                                                                             Oct 19, 2020
                                        Eastern District of Washington                           SEAN F. MCAVOY, CLERK



                  Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Richard James Peone                       Case Number: 0980 2:17CR00181-RMP-1
 Address of Offender:                               Wellpinit, Washington 99040
 Name of Sentencing Judicial Officer: The Honorable Justin L. Quakenbush, Senior U.S. District Judge
 Name of Supervising Judicial Officer: The Honorable Rosanna Malouf Peterson, U.S. District Judge
 Date of Original Sentence: February 20, 2018
 Original Offense:           Escape From Custody, 18 U.S.C. § 751(a)
 Original Sentence:          Prison - 153 days               Type of Supervision: Supervised Release
                             TSR - 36 months

 Revocation Sentence:        Prison - 11 months
 08/14/2018                  TSR - 24 months

 Revocation Sentence:        Prison - 6 months
 09/09/2019                  TSR - 19 months
 Asst. U.S. Attorney:        Daniel Hugo Fruchter            Date Supervision Commenced: September 1, 2020
 Defense Attorney:           Federal Defenders Office       Date Supervision Expires: March 31, 2022


                                          PETITIONING THE COURT

To incorporate the violation(s) contained in this petition in future proceedings with the violation(s) previously
reported to the Court on 9/11/2020.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

            3           Standard Condition # 3: You must not knowingly leave the federal judicial district where
                        you are authorized to reside without first getting permission from the court or the probation
                        officer.

                        Supporting Evidence: On or about October 15, 2020, it is alleged that Mr. Peone violated
                        his conditions of supervised release as he left the federal judicial district without the
                        permission of the probation officer, a direct violation of standard condition number 3.

                        On September 9, 2019, Mr. Peone appeared before Your Honor for the purpose of
                        sentencing, and he was advised of all terms and conditions of his supervised release.
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